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                THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 MFB Fertility, Inc.,

                                Plaintiff,                Case No. 1:23-cv-03854
                      v.
 Action Care Mobile Veterinary Clinic, LLC,               Dist. Judge Harry D. Leinenweber

                                Defendant.                Mag. Judge Gabriel A. Fuentes


DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COPYRIGHT INFRINGEMENT
                 CLAIM AND FOR ATTORNEYS’ FEES

       Defendant Action Care Mobile Veterinary Clinic, LLC (“Action Care” or “Defendant”) by

its counsel, pursuant to Fed. R. Civ. P. 12(b)(6), moves to dismiss Plaintiff MFB Fertility, Inc.’s

(“Plaintiff” or “MFB”) copyright infringement claim, which is contained in Plaintiff’s complaint

(“Complaint”), for failure to state a claim upon which relief may be granted. Defendant also seeks

an award of its attorneys’ fees and costs as the “prevailing party” under 17 U.S.C. § 505 and under

governing Seventh Circuit and Supreme Court precedent.

       In support of Plaintiff’s Motion, Plaintiff files herewith a Memorandum of Law, which also

incorporates a further Declaration of Ilya G. Zlatkin, copies of the parties’ respective works, and

an appendix containing isolated comparisons of the parties’ works in an effort to identify in good

faith any potential similarities between the two works.

       WHEREFORE, Plaintiff respectfully asks this Court to dismiss the copyright claim

contained in the Complaint pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon

which relief may be granted, with prejudice, and without further leave for Plaintiff to amend.

Defendant further requests an award of its attorneys’ fees with respect to work relating to dismissal

of the copyright infringement claim, to be documented as directed by the Court.
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Dated: September 15, 2023
                              Respectfully submitted,

                              ZLATKIN CANN ENTERTAINMENT

                              By: /s/ Ilya G. Zlatkin

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